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     EXHIBIT 109-B
    Redacted Version of
Document Sought to be Sealed
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                                         April 29, 2022

VIA ELECTRONIC MAIL

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          Re: In re Facebook, Inc., Consumer Privacy User Profile Litig.,
              Northern District of California Case No. 3:18-md-02843-VC

Dear Counsel:

        This letter and accompanying spreadsheet provide Plaintiffs’ Response to certain entries
on Facebook’s Fourth Amended Categorical Privilege Log. Please note that the accompanying
spreadsheet only includes entries for which Plaintiffs challenge Facebook’s assertion of
privilege.

       Facebook served its Fourth Amended Categorical Privilege Log (the “Log”) on March
17, 2022, which contained 233,544 new entries (182,112 new entries not including lesser-
included entries). On April 1, 2022, Facebook provided Plaintiffs with a list of in-house and
outside counsel that appear on the Log. On April 11, 2022, Facebook provided full recipient
information for a number of entries on the Log, as well as corrected ProdBegAttach information
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for certain documents. On April 12, 2022, Facebook provided full recipient information for
additional documents on the Log. On April 22, 2022, Facebook produced a response to certain of
Plaintiffs’ 1,738 challenges to Facebook’s Third Amended Categorical Privilege Log, which de-
designated and provided additional information for certain documents included on the Log. In
addition, on April 22, 2022, Facebook produced in full certain documents that had been
identified as redacted on the Log, revised the Log to list certain documents as withheld in full,
produced for the first time 1,604 redacted documents that were originally listed on the Log, and
removed the Attorney Work Product designation for three documents where Facebook had no
assertion of attorney-client privilege. Plaintiffs note that Facebook has not produced those
documents.1 Please produce those documents by Friday, May 6, 2022.

        On April 26, 2022, Facebook produced additional metadata (file names and email
subjects) belonging to the documents on the Log.

        Plaintiffs’ Response to the Log includes fields updated by Plaintiffs, reflecting Plaintiffs’
current understanding of the information communicated by Facebook on April 11, April 12,
April 22, and April 26.2 Plaintiffs have evaluated the entries on Facebook’s Fourth Amended
Categorical Privilege Log and the updated information provided by Facebook and determined
that 87,094 entries are deficient, as indicated in Column T of Plaintiffs’ Response.3

                                                        ***

        Pursuant to Paragraph 3 of the Parties’ Stipulation Regarding Facebook’s Categorical
Privilege Log, Plaintiffs identify the following categories of documents as prioritized challenges:

       1.      Documents sent to a distribution list for which Facebook has not provided
the membership: Plaintiffs challenge Facebook’s assertion of attorney-client privilege over
documents that were disclosed to email distribution lists whose members are unknown. Without
the names and job descriptions of persons on these distribution lists, Plaintiffs cannot reasonably
evaluate whether the withheld document was “within the sphere of corporate privilege[.]” Muro
v. Target Corp., 250 F.R.D. 350, 364 (N.D. Ill. 2007) (“[N]o privilege can be maintained for
communications that were shared with a group of unidentified persons[.]”). Plaintiffs challenge
6,104 entries on this basis.

        2.      Documents disclosed to third parties: Plaintiffs challenge Facebook’s assertion
of attorney-client privilege over documents that were disclosed to a third party, thereby
“destroy[ing] the confidentiality of the communications and the privilege protection that is
dependent upon that confidentiality.” Nidec Corp. v. Victor Co. of Japan, 249 F.R.D. 575, 578
(N.D. Cal. 2007); United States v. Chevron Texaco Corp., 241 F. Supp. 2d 1065, 1075 n.6 (N.D.
Cal. 2002) (“If an e-mail with otherwise privilege attachments is sent to a third party, Chevron

1
  The Bates numbers for those documents are: FB-MDL-PRIV-00000002; FB-MDL-PRIV-00000004; and FB-
  MDL-PRIV-00000005.
2
  Further, this log omits the entries that have been resolved pursuant to Special Master Garrie’s March 3, 2022 Order
  Regarding Plaintiffs’ Motion to Compel Documents Facebook Designated as Privileged, Dkt. 872.
3
  Plaintiffs also challenge any lesser-included version of these 87,094 entries on the same basis as described in the
  attached spreadsheet.
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        6.      Documents described by Facebook Privilege Description #10 (regarding the
App Developer Investigation): As the Court has acknowledged, the App Developer
Investigation had a dual business and legal purpose. ECF No. 736. Facebook’s internal audits,
including Project Ethan and Project Denzel, were done in the regular course of business, as
evidenced by the creation of the DevOps Investigation team for the purpose of continuing
internal auditing. For documents where Facebook asserts attorney-client privilege, but where no
attorneys appear to have been active participants in the communication (i.e., no attorney
custodians, senders, or direct recipients), Facebook has not made a showing that the documents
were made for the primary purpose of generating legal advice. Chevron, 241 F. Supp. at 1070.
Given that this category relates to a business purpose, documents are not protected work product.
Phoenix Techs. Ltd., 195 F. Supp. 3d at 1105. Plaintiffs challenge 1,192 entries on this basis.

        7.      Documents described by Facebook Privilege Description #13 (relating to
privacy and/or platform policies): Plaintiffs challenge Facebook’s assertion of attorney-client
privilege and work product protection over documents in this category. Facebook’s privacy and
platform policies are central to the operation of Facebook’s business, and policy updates were
regularly done in the ordinary course of business. As these topics relate to business operations,
not legal advice, the documents are improperly designated as attorney-client privileged. Chevron,
241 F. Supp. at 1070 (“[P]rivilege does not protect an attorney’s business advice.”). Also, since
these documents relate to both a business and legal purpose, they are not protected work product.
See Phoenix Techs. Ltd. v. VMware, Inc., 195 F. Supp. 3d 1096, 1105 (N.D. Cal. 2016) (holding
that dual purpose documents were not protected work product because they served a business
purpose independent of litigation). Further, as stated in Plaintiffs’ April 7, 2022 letter, this
category is overbroad because it contains at least three sub-parts, leaving Plaintiffs with
insufficient detail to assess Facebook’s claim of privilege. See Franco-Gonzalez v. Holder, 2013
WL 8116823, at *6 (C.D. Cal. May 3, 2013) (explaining the categorical privilege log “must still
describe the documents with sufficient detail so that the other party and court can assess the
claim of privilege”). Plaintiffs challenge 41,025 entries on this basis.

        8.      Documents described by Facebook Privilege Description #15 (regarding
Facebook’s internal investigation into Aleksandr Kogan, thisisyourdigitallife, Cambridge
Analytica, and related entities accused of accessing user data): Plaintiffs challenge
Facebook’s assertion of attorney-client privilege and work product protection over documents in
this category. Facebook’s investigation into Kogan, thisisyourdigitallife, Cambridge Analytica,
and related entities, were performed for a business purposes, such as protecting users’ data and
ensuring users’ trust. See, e.g., Dkt. 736 (finding that Facebook’s investigation into app
developers was “to generate trust in its site—a classic business purpose.”). Indeed, Facebook and
CEO Mark Zuckerberg shared numerous updates with its users regarding Facebook’s response to
the Cambridge Analytica scandal as well as its follow up mitigation and remediation efforts.4
Facebook has not made a showing that the documents were made for the primary purpose of
generating legal advice. Chevron, 241 F. Supp. 2d at 1076. Given that this category relates to a


4
    E.g., Paul Grewal, Suspending Cambridge Analytica and SCL Group From Facebook, META (Mar. 16, 2018),
    https://about.fb.com/news/2018/03/suspending-cambridge-analytica/; Mark Zuckerberg, Facebook (Mar. 21,
    2018), https://www facebook.com/zuck/posts/10104712037900071.
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business purpose, documents are not protected work product. Phoenix Techs. Ltd., 195 F. Supp.
3d at 1105. Plaintiffs challenge 8,291 entries on this basis.

        9.      Documents described by Facebook Privilege Description #11 (regarding
Facebook’s efforts to enforce its Platform Policy against app developers who potentially
were in violation of the Platform Policy): Plaintiffs challenge Facebook’s assertion of attorney-
client privilege and work product protection over documents in this category. Facebook provides
no detail about the provision of the policy being enforced, the underlying facts gathered in
support of the enforcement, or the third parties at issue. See Franco-Gonzalez, 2013 WL
8116823 at *6. Further, Facebook’s enforcement efforts against third party developers were
performed for business purposes, such as protecting users’ data and securing Facebook’s
platform. Facebook has not made a showing that the documents were made for the primary
purpose of generating legal advice. Chevron, 241 F. Supp. 2d at 1076. Given that these
documents relate to a business purpose, Facebook has not shown that these documents are
protected work product. Phoenix Techs. Ltd., 195 F. Supp. 3d at 1105. Plaintiffs challenge 7,319
entries on this basis.

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       Consistent with paragraph 5 of the Stipulation and [Proposed] Order Regarding
Facebook’s Categorical Privilege Log, Plaintiffs expect Facebook’s response to Plaintiffs’
Categorical Challenges by no later than May 6, 2022. Plaintiffs are available to meet and confer
regarding these challenges at your convenience.



                                                     Sincerely,




Emma Wright                                          Joshua Samra
ewright@kellerrohrback.com                           jasmra@bfalaw.com
